Case 3:25-cv-10049-ZNQ-TJB        Document 1    Filed 06/11/25   Page 1 of 32 PageID: 1




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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
                                               Case No. 3:25-cv-10049
 RONDOLPH HO, Individually and on
 Behalf of All Others Similarly Situated,      COMPLAINT FOR
                                               VIOLATIONS OF THE
                     Plaintiff,                FEDERAL SECURITIES
                                               LAWS
       v.                                      CLASS ACTION
 ROCKET PHARMACEUTICALS, INC. Demand for Jury Trial
 and GAURAV SHAH,

                     Defendants.




      Plaintiff Rondolph Ho (“Plaintiff”), individually and on behalf of all other

persons similarly situated, by his undersigned attorneys, alleges in this Complaint

for violations of the federal securities laws (the “Complaint”) the following based

upon knowledge with respect to his own acts, and upon facts obtained through an

investigation conducted by his counsel, which included, inter alia: (a) review and

analysis of relevant filings made by Rocket Pharmaceuticals, Inc. (“Rocket” or the
Case 3:25-cv-10049-ZNQ-TJB        Document 1     Filed 06/11/25   Page 2 of 32 PageID: 2




“Company”) with the United States Securities and Exchange Commission (the

“SEC”); (b) review and analysis of Rocket’s public documents, conference calls,

press releases, and stock chart; (c) review and analysis of securities analysts’ reports

and advisories concerning the Company; and (d) information readily obtainable on

the internet.

      Plaintiff believes that further substantial evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery. Most of the

facts supporting the allegations contained herein are known only to the defendants

or are exclusively within their control.

                             NATURE OF THE ACTION

      1.        This is a federal securities class action on behalf of all investors who

purchased or otherwise acquired Rocket securities between February 27, 2025, to

May 26, 2025, inclusive (the “Class Period”), seeking to recover damages caused by

Defendants’ violations of the federal securities laws (the “Class”).

      2.        Defendants provided investors with material information concerning

Rocket’s Phase 2 pivotal trial of RP-A501 for the treatment of Danon disease.

Defendants’ statements included, among other things, confidence in the drug’s

safety and efficacy, as well as the clinical trial’s detailed protocol and Rocket’s

purported ability to meet the trial’s endpoints as per the Company’s ascribed timeline.




                                            2
Case 3:25-cv-10049-ZNQ-TJB      Document 1     Filed 06/11/25    Page 3 of 32 PageID: 3




      3.     Defendants provided these overwhelmingly positive statements to

investors while, at the same time, disseminating materially false and misleading

statements and/or concealing material adverse facts concerning the true state of RP-

A501’s safety and clinical trial protocol; notably, that Rocket knew Serious Adverse

Events (SAEs), including death of participants enrolled in the study, were a risk. In

particular, Rocket amended the trial’s protocol to introduce a novel

immunomodulatory agent to the pretreatment regimen without providing this critical

update to shareholders. Such statements absent these material facts caused Plaintiff

and other shareholders to purchase Rocket’s securities at artificially inflated prices.

      4.     The truth emerged on May 27, 2025, when Rocket announced that the

FDA placed a clinical hold on the RP-A501 Phase 2 pivotal study after at least one

patient suffered a Serious Adverse Event (SAE), ultimately, death, while enrolled in

the study following a substantive amendment to the protocol that the Company failed

to disclose to investors at the time management made the revision. In fact, Rocket

stated that, while the patient was dosed in May, the decision to amend the protocol

was made “several months” earlier. Despite this, Rocket made no attempt to alert

investors or the public to the change until after the SAE occurred.

      5.     Investors and analysts reacted immediately to Rocket’s revelation. The

price of Rocket’s common stock declined dramatically. From a closing market price




                                           3
Case 3:25-cv-10049-ZNQ-TJB      Document 1        Filed 06/11/25   Page 4 of 32 PageID: 4




of $6.27 per share on May 23, 2025, Rocket’s stock price fell to $2.33 per share on

May 27, 2025, a decline of about 37% in the span of just a single trading day.

                          JURISDICTION AND VENUE

      6.     Plaintiff brings this action, on behalf of himself and other similarly

situated investors, to recover losses sustained in connection with Defendants’ fraud.

      7.     The claims asserted herein arise under and pursuant to §§10(b) and 20(a)

of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated

thereunder by the SEC (17 C.F.R. §240.10b-5).

      8.     This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. §§1331 and 1337, and Section 27 of the Exchange Act, 15

U.S.C. §78aa.

      9.     Venue is proper in this District pursuant to §27 of the Exchange Act

and 28 U.S.C. §1391(b), as Defendant Rocket is headquartered in this District and a

significant portion of its business, actions, and the subsequent damages to Plaintiff

and the Class, took place within this District.

      10.    In connection with the acts, conduct and other wrongs alleged in this

Complaint, Defendants, directly or indirectly, used the means and instrumentalities

of interstate commerce, including but not limited to, the United States mail, interstate

telephone communications and the facilities of the national securities exchange.




                                           4
Case 3:25-cv-10049-ZNQ-TJB     Document 1     Filed 06/11/25   Page 5 of 32 PageID: 5




                                 THE PARTIES

      11.    Plaintiff purchased Rocket common stock at artificially inflated prices

during the Class Period and was damaged upon the revelation of the Defendants’

fraud. Plaintiff’s certification evidencing his transaction(s) in Rocket is attached

hereto.

      12.    Rocket Pharmaceuticals, Inc. is a Delaware corporation with its

principal executive offices located at 9 Cedarbrook Drive, Cranbury, NJ 08512.

During the Class Period, the Company’s common stock traded on the NASDAQ

Stock Market (the “NASDAQ”) under the symbol “RCKT.”

      13.    Defendant Gaurav Shah (“Shah”) was, at all relevant times, the Co-

Founder, Board Member, and Chief Executive Officer of Rocket.

      14.    Defendant Shah is sometimes referred to herein as the “Individual

Defendant.” Rocket together with the Individual Defendant are referred to herein as

the “Defendants.”

      15.    The Individual Defendant, because of his position with the Company,

possessed the power and authority to control the contents of Rocket’s reports to the

SEC, press releases, and presentations to securities analysts, money and portfolio

managers, and institutional investors, i.e., the market. The Individual Defendant was

provided with copies of the Company’s reports and press releases alleged herein to

be misleading prior to, or shortly after, their issuance and had the ability and


                                         5
Case 3:25-cv-10049-ZNQ-TJB      Document 1     Filed 06/11/25   Page 6 of 32 PageID: 6




opportunity to prevent their issuance or cause them to be corrected. Because of their

positions and access to material non-public information available to them, the

Individual Defendant knew that the adverse facts specified herein had not been

disclosed to, and were being concealed from, the public, and that the positive

representations which were being made were then materially false and/or misleading.

The Individual Defendant is liable for the false statements pleaded herein, as those

statements were each “group-published” information, the result of the collective

actions of the Individual Defendant.

      16.    Rocket is liable for the acts of the Individual Defendant, and its

employees under the doctrine of respondeat superior and common law principles of

agency as all the wrongful acts complained of herein were carried out within the

scope of their employment with authorization.

      17.    The scienter of the Individual Defendant, and other employees and

agents of the Company are similarly imputed to Rocket under respondeat superior

and agency principles.

                         SUBSTANTIVE ALLEGATIONS

                               Company Background

      18.    Rocket is a fully integrated, late-stage biotechnology company focused

on the development of gene therapies, with direct on-target mechanism of action and

clear clinical endpoints, for rare and devastating diseases.


                                          6
Case 3:25-cv-10049-ZNQ-TJB     Document 1    Filed 06/11/25   Page 7 of 32 PageID: 7




            The Defendants Materially Misled Investors Concerning

         The Safety of Rocket’s RP-A501 Investigational Gene Therapy

                                February 27, 2025

      19.   On February 27, 2025, Rocket published fourth quarter and full year

2024 financial results and highlights regarding RP-A501, in relevant part:

      Dosing in the Phase 2 pivotal study of RP-A501 for Danon disease is
      ongoing.
         • Details of the Phase 2 pivotal study can be found at www.Clini-
            calTrials.gov under NCT identifier NCT06092034.
         • Program update anticipated in the first half of 2025.


      20.   Also as part of the press release, CEO Shah stated, in pertinent part:

      In 2024, we made strong progress in advancing our gene therapy
      pipeline, underscored by the New England Journal of
      Medicine publication of the Phase 1 study of RP-A501 for Danon
      disease and long-term data presented at AHA showing its safety and
      meaningful efficacy up to five years. Our momentum continues as we
      progress with the Phase 2 pivotal trial of RP-A501 and the Phase 1 trial
      of RP-A601 for PKP2-ACM, and we remain on track to submit the IND
      for BAG3-DCM in the first half of 2025. Looking ahead to 2025, we
      will maintain our focus and resources on advancing our AAV
      cardiovascular programs while seeking to realize value in our full
      pipeline in a thoughtful manner, so we deliver the greatest value to our
      patients and shareholders.

                                   May 8, 2025

      21.   On May 8, 2025, Rocket published first quarter 2025 financial results

and highlights regarding RP-A501, in relevant part:

      Phase 2 pivotal study of RP-A501 for Danon disease is ongoing.


                                         7
Case 3:25-cv-10049-ZNQ-TJB       Document 1      Filed 06/11/25   Page 8 of 32 PageID: 8




               •   Program update anticipated in mid-year 2025 and a
                   clinical data readout expected in mid-year 2026. De-
                   tails of the Phase 2 pivotal study can be found
                   at www.ClinicalTrials.gov under NCT identifier
                   NCT06092034.
               •   In March, the largest longitudinal natural history
                   study of Danon disease to date was published in
                   the Journal of the American Heart Association
                   (JAHA), revealing key insights into the distinct car-
                   diac patterns of Danon disease patients, showing ear-
                   lier, more Serious heart issues in male patients, while
                   also noting that many females develop progressive
                   cardiomyopathy and heart failure in adolescence or
                   early adulthood.


       22.   The above statements in Paragraphs 19 to 21 were false and/or

materially misleading. Defendants created the false impression that they possessed

reliable information pertaining to Rocket’s projected timeline for the Company’s

RP-A501 Phase 2 pivotal trial to meet its required endpoints, as well as the safety of

the drug and the trial as amended. In truth, Rocket’s optimistic reports pertaining to

the trial’s ascribed timeline and safety profile fell short of the reality; ultimately, at

least one patient enrolled in the study suffered from a Serious Adverse Event (SAE)

and died, following Rocket’s veiled amendment to the trial’s protocol which

introduced a novel immunomodulatory agent, a C3 inhibitor, to the pretreatment

regimen, which halted enrollment and caused the trial to be place on hold by the

FDA.



                                            8
Case 3:25-cv-10049-ZNQ-TJB      Document 1     Filed 06/11/25   Page 9 of 32 PageID: 9




                                The Truth Emerges

                                    May 27, 2025

      23.    On May 27, 2025, Rocket published a press release providing an update

on the Company’s Phase 2 Clinical Trial of RP-A501 for Danon Disease, including

that a patient enrolled in the trial experienced an unexpected Serious Adverse Event

(SAE). The press release stated, in relevant part:

      A patient participating in the Phase 2 pivotal trial of RP-A501
      experienced an unexpected Serious Adverse Event (SAE). The SAE
      involved clinical complications related to a capillary leak syndrome.
      Rocket is conducting a comprehensive root cause analysis and
      remains in active dialogue with the U.S. Food and Drug
      Administration (FDA) and other key stakeholders, with the current
      focus being on the recent introduction of a novel immune suppression
      agent to the pre-treatment regimen that had been implemented to
      mitigate complement activation observed in some patients. This novel
      agent was specific to the AAV9-Danon program. Upon learning of the
      initial event, Rocket voluntarily paused further dosing in the study.
      On May 23, 2025, the FDA placed a clinical hold on the trial to allow
      for further evaluation. Rocket is deeply saddened to report that this
      patient has since passed away after an acute systemic infection.

      Rocket is working with the FDA, the Independent Data Safety
      Monitoring Committee, clinical investigators, and scientific experts,
      and is committed to ensuring the safety of all study patients while
      resuming the trial as expeditiously as possible. While the clinical hold
      remains in place, the company is unable to provide guidance on the
      anticipated timing for completion of the Phase 2 trial.

(Emphasis added).

      24.    Also as part of the press release, CEO Shah issued a statement, in

pertinent part:

                                          9
Case 3:25-cv-10049-ZNQ-TJB      Document 1      Filed 06/11/25   Page 10 of 32 PageID: 10




       We are heartbroken by this loss and are fully committed to our mission
       to develop gene therapies that address the underlying cause of
       devastating diseases like Danon. We are immensely grateful for the
       patients and families who participate in this important research.

       25.    The same day, Rocket hosted a special call to detail the RP-A501

 updates, including the Serious Adverse Event (SAE) that occurred during the Phase

 2 trial. CEO Shah stated, in pertinent part:

       A patient enrolled in our Phase II pivotal trial experienced an unex-
       pected serious adverse event and clinical complications related to ca-
       pillary leak syndrome. Rocket is conducting a comprehensive root
       cause analysis and remains in active dialogue with the FDA and other
       key stakeholders with the current focus being on the recent introduction
       of a novel immune suppression agent to the pretreatment regimen that
       has been implemented to mitigate complement activation.

       Now this novel agent was specific to the Danon program and not for
       PKP2, BAG3 or other programs. Following this initial SAE, Rocket
       proactively and voluntarily paused further dosing in the study out of an
       abundance of caution. We immediately notified the U.S. FDA, and the
       FDA on May 23 placed the trial on clinical hold to allow for additional
       evaluation. Subsequently, the patient experienced additional medical
       and procedural complications during his hospital course and unfor-
       tunately passed away after a systemic infection.

       First and foremost, our thoughts are with the patient's family, caregivers
       and the treating clinical team. This is a deeply tragic loss, and we are
       committed to fully understanding their circumstances surrounding it
       objectively and neutrally. We are also immensely grateful to the family
       for their contribution to this important clinical research and their com-
       mitment to helping advance science for the broader Danon community.

       Now as was shared in our press release and just now, there is an on-
       going and objective review to assess the root cause of the initial SAE.
       And as I mentioned, an area of focus is a recent protocol amendment
       that introduced a novel immunomodulatory agent to the pretreatment
       regimen. This change was implemented proactively to further

                                           10
Case 3:25-cv-10049-ZNQ-TJB     Document 1      Filed 06/11/25   Page 11 of 32 PageID: 11




       enhance patient safety and was informed by the occurrence of com-
       plement activation earlier.

       Rocket is carefully evaluating whether a mechanism related to the
       new agent may have influenced immune responses in an unexpected
       or paradoxical way. Again, this agent is specific to the Danon pro-
       gram and has not been used in PKP2, BAG3 or other programs. Also,
       these programs are not impacted by this clinical hold. We're working
       now with sites, external scientific experts and the FDA. And while the
       clinical hold remains in place, we're unable to provide guidance on
       the exact timing of completion of the Phase II trial.

 [Emphasis added].

       26.    As part of the special call, Rocket hosted a question-and-answer

 segment, wherein the Company’s management responded to questions from analysts,

 in relevant part:



       <Q: Joshua Elliott Schimmer - Cantor Fitzgerald & Co – Analyst>
       Condolences to the family of the patient. I guess are you able to provide
       any additional details around this event in terms of when it occurred,
       number one, what the specific immune or novel agent was that -- was
       added? I guess this is incremental to the steroid, sirolimus and
       rituximab.
       And then are you able to provide any comments in terms of the number
       of patients treated in the program to date? And if the answer to any of
       those is no, when might we expect to hear?

       <A: CEO Shah> Yes. So the patient was treated in early May. And the
       agent that was used was the C3 inhibitor, and it was introduced into
       this trial because there was ongoing evidence of complement
       activation in Danon disease. And we aim to try to completely eliminate
       any TMA risk altogether. So at that time, this particular agent was
       coming into the market and also we had some experience in pediatric
       patients. So the timing was right to try to eradicate the risk of TMA

                                          11
Case 3:25-cv-10049-ZNQ-TJB     Document 1        Filed 06/11/25   Page 12 of 32 PageID: 12




       altogether, not just for Danon, but potentially as a read-through to other
       AAV programs across our portfolio and others. So it was with that in
       mind that we introduced this novel agent.
       Now I will say that we are considering that as one option, one thought,
       one idea for root cause. We're doing a comprehensive root cause
       analysis pretty neutral and objectively, and this is one idea. It's the
       current focus, just one idea. And in terms of the number of patients,
       we're not quite ready to comment on that, but as the protocol, it goes
       through the FDA, and we have discussions with them to resolve the
       hold, we'll be able to provide further guidance.

                                 *      *        *

       <Q: Mani Foroohar - Leerink Partners LLC – Analyst> I would add my
       condolences to the family of this patient. I want to follow up a little bit
       on Josh's question, which seem to be the most important. Can you give
       us a sense of when the decision was made to add this C3 inhibitor
       potentially to the protocol? Was this the only patient to receive this
       agent? And then I have a quick follow-up.

       <A: CEO Shah> Yes. So the decision was made earlier several months
       ago to add this. And the -- there was one more additional patient who
       did receive this agent as well after this patient that we're talking about.
       And the second patient has had a much reduced course, has had
       evidence of capillary but has had a reduced course. What we were
       able to do here is learn from the first case and intervene so that we
       didn't see the same events happening in the second patient. So there
       are 2 cases like this now. And I will say that both of these cases are
       cases where this -- the only difference really was the introduction of
       this agent. So that's why that's one hypothesis that we're working with.

       <Q: Mani Foroohar> Okay. And when you talk -- so is the right
       interpretation of that, that you had some number of patients, at least
       these 2, who have had capillary leak syndrome after dosing with the
       AAV, after receiving the other 3 agents and the immunomodulatory
       regimen that Josh [ helpfully listed ]. And then after that, at some point,
       they had capillary leak syndrome and then this novel agent was given,
       and then they had an acute infection? Or did the acute infection come

                                            12
Case 3:25-cv-10049-ZNQ-TJB     Document 1       Filed 06/11/25   Page 13 of 32 PageID: 13




       prior to the CPS and the novel agent was given after? Could you clarify
       the order of events there?

       <A: CEO Shah> Sure. So yes, let's walk through the time line here in
       some granularity. So these are the only 2 patients that have seen what
       we're calling a capillary leak syndrome, the ones that we're talking
       about here. Now this agent is given before the infusion. It's given a
       few doses after infusion as well. And it's given in conjunction with
       the other standard immunomodulatory regimen, including rituximab,
       sirolimus and steroids with hopefully rapid taper. So all of that is
       given together. And it was a full package that was intended to
       eradicate complement activation as well as any later T cell responses
       to really focus on the safety profile of these patients in the days and
       weeks after therapy. Safety is, of course, our first priority here while
       we develop a full benefit-risk profile.

       So in terms of the occurrence of the medical events, about -- so we did
       not see TMA. We did not see other gene therapy effects like
       myocarditis. About a week after the infusion, that's when we started
       seeing some evidence of capillary leak. There were other medical
       complications and procedural complications in the week or so
       afterwards. And actually the patient was, at that time, stable and doing
       potentially well enough that we were cautiously optimistic of recovery.
       And the capillary leak was improving. Unfortunately, over the weekend,
       over this past weekend, he developed an acute systemic infection that
       accelerated his demise. That's the full sequence of events. And the
       clinical hold was placed on Friday -- the clinical hold was placed Friday
       just before this demise. So all of these -- the most severe events
       unfolded literally in the last 3 or 4 days.

                                *      *        *

       <Q: Avraham Leib Novick - Morgan Stanley – Research Associate>
       It's Avi Novick on the line for Mike. I guess are there any patients that
       have been enrolled in the study that have still not been infused with RP-
       A501? And I guess just as a quick follow-up, were there any previously
       dosed patients who have had complement-mediated adverse events?



                                           13
Case 3:25-cv-10049-ZNQ-TJB     Document 1        Filed 06/11/25   Page 14 of 32 PageID: 14




       <A: CEO Shah> Yes. So there are patients who are still waiting to be
       treated. Our plan and the time line was such that we would have
       finished the treatment of these patients by midyear, which is when we
       were going to have the program update as we've guided to previously.
       So there were more patients left to be treated, all ready to go and were
       lined up to be treated shortly. Unfortunately, we had the setback that
       we're talking about today. So that's going to be paused.

       Earlier in the trial, we did see complement activation and TMA. It
       was a gene therapy-associated effect that's part of trial safety benefit
       that we usually read out at the end of the trial. And those patients are
       actually now doing well from a safety and potentially even an efficacy
       viewpoint. But because it was part of routine explained side effects of
       gene therapy, we continue with the program. There was no clinical
       hold, and we modified the protocol in the way that I described earlier,
       to continue to further mitigate the risk.

                                 *      *        *

       <Q: Tyler Martin Van Buren - TD Cowen – Analyst> Since you
       discussed that this agent was introduced to reduce the incidence of
       TMAs, can you give more color on the incidence of TMAs that have
       been observed to date? Or any additional color on what you've seen so
       far in the trial?

       <A: CEO Shah> Yes. So there was an initial episode of TMA that was
       linked to a gene mutation, an additional gene mutation that confers
       complement sensitivity in some patients. We modified the protocol
       with the 14 panel test to reduce the -- or to eliminate those patients from
       enrolling who would have those sorts of gene mutations that exacerbate
       complement.

       There was another one that persisted. There was another TMA that
       we saw also. And TMA is a known risk of this therapy. We don't think
       that the risk is ever going to be zero. But in order to try to make it as
       close to zero as possible, we introduced this new inhibitor, and we're
       going to evaluate what finally happened here.




                                            14
Case 3:25-cv-10049-ZNQ-TJB     Document 1        Filed 06/11/25   Page 15 of 32 PageID: 15




       And I should also say that those patients who did have those early
       complement activations have completely recovered from the sequelae
       and are doing well right now.

                                 *      *        *

       <Q: Thibaut R. Pardo-García - LifeSci Capital, LLC, – Research
       Associate> This is Thibaut Pardo for Cory Jubinville. My condolences
       to the family of the patient. So we have -- we had up to 5 years of AEs
       data that were going pretty well. So this Phase I program, we had
       everything pretty controlled with -- once the update to include
       rituximab, sirolimus and prednisone combo. Why take that risk of
       introducing a novel agent?

       <A: CEO Shah> We always aim to provide the optimal experience for
       patients and really lean in on the benefit risk. And although at the time,
       we didn't know how rapidly these complement issues would and could
       resolve. So we worked with an abundance of caution putting patient
       safety first to make sure that other patients didn't necessarily have those
       experiences. Now since then, those patients, as I mentioned, have
       recovered fully from the complement activation issues. And I think that
       -- so we were trying to be extra careful with safety and trying to
       eliminate all risk altogether.

                                 *      *        *

       <Q: Gil Joseph Blum - Needham & Company, LLC, Research –Analyst>
       And allow me to add my condolences. So just to be perfectly, perfectly
       clear, the only event of capillary leak syndrome that we're seeing were
       only when this agent was used? There was no evidence in any of the
       other patients?

       <A: CEO Shah> That's correct.

 [Emphasis added].




                                            15
Case 3:25-cv-10049-ZNQ-TJB      Document 1       Filed 06/11/25   Page 16 of 32 PageID: 16




       27.    The aforementioned press releases and statements made by Defendants

 contradicted their earlier statements, wherein the Company portrayed an

 understanding of the safety issues surrounding its investigational gene therapy, RP-

 A501, including Serious Adverse Events (SAEs). Furthermore, Rocket provided

 investors with positive statements relating to the safety and efficacy of the drug as

 well as the timeline pertaining to the RP-A501 Phase 2 pivotal trial, which is in direct

 contrast to the statements made during the alleged corrective event. Defendants

 knew or should have known that RP-A501’s success would be impacted by SAEs

 when the Company amended the trial’s protocol to introduce a C3 inhibitor for two

 patients enrolled in the trial. In fact, rather than properly amending the clinical trial

 protocol, Rocket quietly introduced a novel immune suppression agent to mitigate

 complement activation putting the patients receiving this additional agent at risk of

 suffering from a Serious Adverse Event (SAE).

       28.    Investors and analysts reacted immediately to Rocket’s revelation. The

 price of Rocket’s common stock declined dramatically. From a closing market price

 of $6.27 per share on May 23, 2025, Rocket’s stock price fell to $2.33 per share on

 May 27, 2025, a decline of about 37% in the span of just a single trading day.

       29.    A number of well-known analysts who had been following Rocket

 quickly reacted to Rocket’s news. For example, J.P. Morgan published a report titled




                                            16
Case 3:25-cv-10049-ZNQ-TJB      Document 1      Filed 06/11/25   Page 17 of 32 PageID: 17




 “Clinical Hold a Major Setback for Danon Pivotal and Shares” and concluded, in

 relevant part:

        In our view, this morning’s announcement of a patient death in the
        pivotal phase 2 study of RP-A501 for Danon Disease and subsequent
        FDA placed clinical hold represents a major, perhaps
        insurmountable, setback for the program. With the Danon program
        being the primary focus for the Street, and little value being ascribed to
        the company’s remaining pipeline, the pre-market reaction (shares
        down ~66% vs XBI up 1%) strikes us as appropriate. For reference,
        cash at the end of 1Q25 was ~$3/share while our model forecasts a year
        end pro-forma ~$2/share. While the company will seek to work with
        the FDA to understand what drove the patient’s capillary leak syndrome
        (initially thought to be due to the novel immune pre-conditioning agent),
        we see a real possibility that the event changes the risk/ benefit dynamic
        for A501 such that the bar for registration is more conservative than the
        current pivotal design presently supports. While we expect better
        visibility on the path forward on the upcoming call at 8:30, we wouldn’t
        be surprised by shares continuing to be under pressure at least through
        resolution of the clinical hold.

 [Emphasis added].

        30.    Similarly, Cantor decreased its price target for Rocket following the

 SAE news from $30 to $10, citing the Company’s major setback. Cantor’s report

 stated, in pertinent part:

        This morning, RCKT announced a clinical hold on RP-A501, AAV9
        gene therapy for Danon's Syndrome after a patient died from capillary
        leak syndrome + complications.

               ● RCKT had just introduced an FDA approved C3 inhibitor (so
               likely Empaveli) as part of the complement activation
               prophylactic regimen.

               ● The first 2 patients treated with this added prophylactic therapy
               developed capillary leak syndrome - manifesting as extreme

                                           17
Case 3:25-cv-10049-ZNQ-TJB     Document 1       Filed 06/11/25   Page 18 of 32 PageID: 18




             hypotension, peripheral and pulmonary edema without cardiac
             dysfunction.

             ● One of the two subsequently died from a super-infection,
             leading to a pause in enrollment and the trial being placed on
             hold.

             ● As such, it seems fairly clear that capillary leak syndrome in
             this context is a result of the interaction of the C3 inhibition + the
             underlying disease + the AAV vector and is unlikely to be an
             issue without the same C3 inhibitor exposure.

       TMA had already been described with this program, leading to a
       prophylactic regimen (rituximab, sirolimus and steroids, with
       eculizumab as needed) to reduce complement activation.

             ● RCKT continued to see TMA events. One appears attributed
             to a rare complement mutation that is now being screened to
             exclude patients. Another appeared to have an alternate
             complement pathway component that led to the addition of C3
             inhibition.


       31.   The fact that these analysts, and others, discussed Rocket’s shortfall and

 the severe impact of the clinical hold placed by the FDA on the RP-A501 Phase 2

 trial suggests the public placed significant weight on Rocket’s statements of prior

 confidence in the RP-A501 investigational gene therapy and Phase 2 pivotal trial.

 The frequent, in-depth discussion of Rocket’s RP-A501 investigational gene therapy

 and Phase 2 pivotal trial for Danon disease confirms that Defendants’ statements

 during the Class Period were material.




                                           18
Case 3:25-cv-10049-ZNQ-TJB       Document 1      Filed 06/11/25   Page 19 of 32 PageID: 19




                          Loss Causation and Economic Loss

          32.   During the Class Period, as detailed herein, Defendants made

 materially false and misleading statements and engaged in a scheme to deceive the

 market and a course of conduct that artificially inflated the price of Rocket’s

 common stock and operated as a fraud or deceit on Class Period purchasers of

 Rocket’s common stock by materially misleading the investing public. Later,

 Defendants’ prior misrepresentations and fraudulent conduct became apparent to the

 market, the price of Rocket’s common stock materially declined, as the prior

 artificial inflation came out of the price over time. As a result of their purchases of

 Rocket’s common stock during the Class Period, Plaintiff and other members of the

 Class suffered economic loss, i.e., damages under federal securities laws.

          33.   Rocket’s stock price fell in response to the corrective event on May 27,

 2025, as alleged supra. On May 27, 2025, Defendants disclosed additional

 information that was directly related to their prior misrepresentations and material

 omissions concerning Rocket’s RP-A501 investigational gene therapy and Phase 2

 trial.

          34.   In particular, on May 27, 2025, Rocket announced that the FDA placed

 a clinical hold on the RP-A501 Phase 2 pivotal trial to allow for further evaluation

 following the Company’s announcement of a Severe Adverse Event (SAE), noting

 that a patient died following an acute systemic infection.


                                            19
Case 3:25-cv-10049-ZNQ-TJB     Document 1      Filed 06/11/25   Page 20 of 32 PageID: 20




                 Presumption of Reliance; Fraud-On-The-Market

       35.    At all relevant times, the market for Rocket’s common stock was an

 efficient market for the following reasons, among others:

       (a)    Rocket’s common stock met the requirements for listing and was listed

 and actively traded on the NASDAQ during the Class Period, a highly efficient and

 automated market;

       (b)    Rocket communicated with public investors via established market

 communication mechanisms, including disseminations of press releases on the

 national circuits of major newswire services and other wide-ranging public

 disclosures, such as communications with the financial press and other similar

 reporting services;

       (c)    Rocket was followed by several securities analysts employed by major

 brokerage firms who wrote reports that were distributed to the sales force and certain

 customers of their respective brokerage firms during the Class Period. Each of these

 reports was publicly available and entered the public marketplace; and

       (d)    Unexpected material news about Rocket was reflected in and

 incorporated into the Company’s stock price during the Class Period.

       36.    As a result of the foregoing, the market for Rocket’s common stock

 promptly digested current information regarding the Company from all publicly

 available sources and reflected such information in Rocket’s stock price. Under these


                                          20
Case 3:25-cv-10049-ZNQ-TJB       Document 1     Filed 06/11/25   Page 21 of 32 PageID: 21




 circumstances, all purchasers of Rocket’s common stock during the Class Period

 suffered similar injury through their purchase of Rocket’s common stock at

 artificially inflated prices, and a presumption of reliance applies.

       37.    Alternatively, reliance need not be proven in this action because the

 action involves omissions and deficient disclosures. Positive proof of reliance is not

 a prerequisite to recovery pursuant to ruling of the United States Supreme Court in

 Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972). All that is

 necessary is that the facts withheld be material in the sense that a reasonable investor

 might have considered the omitted information important in deciding whether to buy

 or sell the subject security.

           No Safe Harbor; Inapplicability of Bespeaks Caution Doctrine

       38.    The statutory safe harbor provided for forward-looking statements

 under certain circumstances does not apply to any of the material misrepresentations

 and omissions alleged in this Complaint. As alleged above, Defendants’ liability

 stems from the fact that they provided investors with positive expectations and

 timeline projections for RP-A501 while at the same time failing to properly account

 for Serious Adverse Events (SAE) and the impact that they would have on safety

 and ascribed timelines. Defendants provided the public with safety information and

 timelines that failed to account for potential SAEs that they knew or should have

 known about during the Phase 2 trial.


                                           21
Case 3:25-cv-10049-ZNQ-TJB      Document 1      Filed 06/11/25   Page 22 of 32 PageID: 22




       39.    To the extent certain of the statements alleged to be misleading or

 inaccurate may be characterized as forward looking, they were not identified as

 “forward-looking statements” when made and there were no meaningful cautionary

 statements identifying important factors that could cause actual results to differ

 materially from those in the purportedly forward-looking statements.

       40.    Defendants are also liable for any false or misleading “forward-looking

 statements” pleaded because, at the time each “forward-looking statement” was

 made, the speaker knew the “forward-looking statement” was false or misleading

 and the “forward-looking statement” was authorized and/or approved by an

 executive officer of Rocket who knew that the “forward-looking statement” was

 false. Alternatively, none of the historic or present-tense statements made by

 Defendants were assumptions underlying or relating to any plan, projection, or

 statement of future economic performance, as they were not stated to be such

 assumptions underlying or relating to any projection or statement of future economic

 performance when made, nor were any of the projections or forecasts made by the

 Defendants expressly related to or stated to be dependent on those historic or present-

 tense statements when made.

                         CLASS ACTION ALLEGATIONS

       41.    Plaintiff brings this action as a class action pursuant to Federal Rule of

 Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who


                                           22
Case 3:25-cv-10049-ZNQ-TJB     Document 1      Filed 06/11/25   Page 23 of 32 PageID: 23




 purchased or otherwise acquired Rocket’s common stock during the Class Period

 (the “Class”); and were damaged upon the revelation of the alleged corrective

 disclosure. Excluded from the Class are Defendants herein, the officers and directors

 of the Company, at all relevant times, members of their immediate families and their

 legal representatives, heirs, successors, or assigns and any entity in which

 Defendants have or had a controlling interest.

       42.    The members of the Class are so numerous that joinder of all members

 is impracticable. Throughout the Class Period, Rocket’s common stock were

 actively traded on the NASDAQ. While the exact number of Class members is

 unknown to Plaintiff at this time and can be ascertained only through appropriate

 discovery, Plaintiff believes that there are hundreds or thousands of members in the

 proposed Class. Record owners and other members of the Class may be identified

 from records maintained by Rocket or its transfer agent and may be notified of the

 pendency of this action by mail, using the form of notice similar to that customarily

 used in securities class actions. As of May 2, 2025, there were approximately 107.7

 million shares of the Company’s common stock outstanding. Upon information and

 belief, these shares are held by thousands, if not millions, of individuals located

 throughout the country and possibly the world. Joinder would be highly

 impracticable.




                                          23
Case 3:25-cv-10049-ZNQ-TJB        Document 1      Filed 06/11/25   Page 24 of 32 PageID: 24




        43.      Plaintiff’s claims are typical of the claims of the members of the Class

 as all members of the Class are similarly affected by Defendants’ wrongful conduct

 in violation of federal law that is complained of herein.

        44.      Plaintiff will fairly and adequately protect the interests of the members

 of the Class and has retained counsel competent and experienced in class and

 securities litigation. Plaintiff has no interests antagonistic to or in conflict with those

 of the Class.

        45.      Common questions of law and fact exist as to all members of the Class

 and predominate over any questions solely affecting individual members of the Class.

 Among the questions of law and fact common to the Class are:

        (a)      whether the federal securities laws were violated by Defendants’ acts

 as alleged herein;

        (b)      whether statements made by Defendants to the investing public during

 the Class Period misrepresented material facts about the business, operations, and

 management of Rocket;

        (c)      whether the Individual Defendant caused Rocket to issue false and

 misleading financial statements during the Class Period;

        (d)      whether Defendants acted knowingly or recklessly in issuing false and

 misleading financial statements;




                                             24
Case 3:25-cv-10049-ZNQ-TJB       Document 1    Filed 06/11/25   Page 25 of 32 PageID: 25




       (e)    whether the prices of Rocket’s common stock during the Class Period

 were artificially inflated because of the Defendants’ conduct complained of herein;

 and

       (f)    whether the members of the Class have sustained damages and, if so,

 what is the proper measure of damages.

       46.    A class action is superior to all other available methods for the fair and

 efficient adjudication of this controversy since joinder of all members is

 impracticable. Furthermore, as the damages suffered by individual Class members

 may be relatively small, the expense and burden of individual litigation make it

 impossible for members of the Class to individually redress the wrongs done to them.

 There will be no difficulty in the management of this action as a class action.

                                       COUNT I

                       Against All Defendants for Violations of

               Section 10(b) and Rule 10b-5 Promulgated Thereunder

       47.    Plaintiff repeats and realleges each and every allegation contained

 above as if fully set forth herein.

       48.    This Count is asserted against Defendants and is based upon Section

 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated

 thereunder by the SEC.




                                          25
Case 3:25-cv-10049-ZNQ-TJB     Document 1      Filed 06/11/25   Page 26 of 32 PageID: 26




       49.    During the Class Period, Defendants engaged in a plan, scheme,

 conspiracy and course of conduct, pursuant to which they knowingly or recklessly

 engaged in acts, transactions, practices and courses of business which operated as a

 fraud and deceit upon. Plaintiff and the other members of the Class; made various

 untrue statements of material facts and omitted to state material facts necessary in

 order to make the statements made, in light of the circumstances under which they

 were made, not misleading; and employed devices, schemes and artifices to defraud

 in connection with the purchase and sale of securities. Such scheme was intended to,

 and, throughout the Class Period, did: (i) deceive the investing public, including

 Plaintiff and other Class members, as alleged herein; (ii) artificially inflate and

 maintain the market price of Rocket common stock; and (iii) cause Plaintiff and

 other members of the Class to purchase or otherwise acquire Rocket’s securities at

 artificially inflated prices. In furtherance of this unlawful scheme, plan and course

 of conduct, Defendants, and each of them, took the actions set forth herein.

       50.    Pursuant to the above plan, scheme, conspiracy and course of conduct,

 each of the Defendants participated directly or indirectly in the preparation and/or

 issuance of the quarterly and annual reports, SEC filings, press releases and other

 statements and documents described above, including statements made to securities

 analysts and the media that were designed to influence the market for Rocket’s

 securities. Such reports, filings, releases and statements were materially false and


                                          26
Case 3:25-cv-10049-ZNQ-TJB      Document 1       Filed 06/11/25   Page 27 of 32 PageID: 27




 misleading in that they failed to disclose material adverse information and

 misrepresented the truth about the Company.

       51.    By virtue of their positions at the Company, Defendants had actual

 knowledge of the materially false and misleading statements and material omissions

 alleged herein and intended thereby to deceive Plaintiff and the other members of

 the Class, or, in the alternative, Defendants acted with reckless disregard for the truth

 in that they failed or refused to ascertain and disclose such facts as would reveal the

 materially false and misleading nature of the statements made, although such facts

 were readily available to Defendants. Said acts and omissions of Defendants were

 committed willfully or with reckless disregard for the truth. In addition, each

 Defendant knew or recklessly disregarded that material facts were being

 misrepresented or omitted as described above.

       52.    Information showing that Defendants acted knowingly or with reckless

 disregard for the truth is peculiarly within Defendants’ knowledge and control. As

 the senior managers and/or directors of the Company, the Individual Defendant had

 knowledge of the details of Rocket’s internal affairs.

       53.    The Individual Defendant is liable both directly and indirectly for the

 wrongs complained of herein. Because of his position of control and authority, the

 Individual Defendant was able to and did, directly or indirectly, control the content

 of the statements of the Company. As an officer and/or director of a publicly-held


                                            27
Case 3:25-cv-10049-ZNQ-TJB     Document 1      Filed 06/11/25   Page 28 of 32 PageID: 28




 company, the Individual Defendant had a duty to disseminate timely, accurate, and

 truthful information with respect to Rocket’s businesses, operations, future financial

 condition and future prospects. As a result of the dissemination of the

 aforementioned false and misleading reports, releases and public statements, the

 market price of Rocket’s common stock was artificially inflated throughout the Class

 Period. In ignorance of the adverse facts concerning the Company which were

 concealed by Defendants, Plaintiff and the other members of the Class purchased or

 otherwise acquired Rocket’s common stock at artificially inflated prices and relied

 upon the price of the common stock, the integrity of the market for the common

 stock and/or upon statements disseminated by Defendants, and were damaged

 thereby.

       54.    During the Class Period, Rocket’s common stock was traded on an

 active and efficient market. Plaintiff and the other members of the Class, relying on

 the materially false and misleading statements described herein, which the

 Defendants made, issued or caused to be disseminated, or relying upon the integrity

 of the market, purchased or otherwise acquired shares of Rocket’s common stock at

 prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the

 other members of the Class known the truth, they would not have purchased or

 otherwise acquired said common stock, or would not have purchased or otherwise

 acquired them at the inflated prices that were paid. At the time of the purchases


                                          28
Case 3:25-cv-10049-ZNQ-TJB      Document 1      Filed 06/11/25   Page 29 of 32 PageID: 29




 and/or acquisitions by Plaintiff and the Class, the true value of Rocket’s common

 stock was substantially lower than the prices paid by Plaintiff and the other members

 of the Class. The market price of Rocket’s common stock declined sharply upon

 public disclosure of the facts alleged herein to the injury of Plaintiff and Class

 members.

       55.    By reason of the conduct alleged herein, Defendants knowingly or

 recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act

 and Rule 10b-5 promulgated thereunder.

       56.    As a direct and proximate result of Defendants’ wrongful conduct,

 Plaintiff and the other members of the Class suffered damages in connection with

 their respective purchases, acquisitions and sales of the Company’s common stock

 during the Class Period, upon the disclosure that the Company had been

 disseminating misrepresented financial statements to the investing public.

                                      COUNT II

                          Against the Individual Defendant

                 for Violations of Section 20(a) of the Exchange Act

       57.    Plaintiff repeats and realleges each and every allegation contained in

 the foregoing paragraphs as if fully set forth herein.

       58.    During the Class Period, the Individual Defendant participated in the

 operation and management of the Company, and conducted and participated, directly


                                           29
Case 3:25-cv-10049-ZNQ-TJB     Document 1      Filed 06/11/25   Page 30 of 32 PageID: 30




 and indirectly, in the conduct of the Company’s business affairs. Because of their

 senior positions, they knew the adverse non-public information about Rocket’s

 misstatements.

       59.    As officers and/or directors of a publicly owned company, the

 Individual Defendant had a duty to disseminate accurate and truthful information,

 and to correct promptly any public statements issued by Rocket which had become

 materially false or misleading.

       60.    Because of their positions of control and authority as senior officers,

 the Individual Defendant was able to, and did, control the contents of the various

 reports, press releases and public filings which Rocket disseminated in the

 marketplace during the Class Period concerning the misrepresentations. Throughout

 the Class Period, the Individual Defendant exercised his power and authority to

 cause Rocket to engage in the wrongful acts complained of herein. The Individual

 Defendant, therefore, was a “controlling person” of the Company within the

 meaning of Section 20(a) of the Exchange Act. In this capacity, they participated in

 the unlawful conduct alleged which artificially inflated the market price of Rocket’s

 common stock.

       61.    The Individual Defendant, therefore, acted as a controlling person of

 the Company. By reason of their senior management positions and/or being directors

 of the Company, each of the Individual Defendant had the power to direct the actions


                                          30
Case 3:25-cv-10049-ZNQ-TJB     Document 1      Filed 06/11/25   Page 31 of 32 PageID: 31




 of, and exercised the same to cause Rocket to engage in the unlawful acts and

 conduct complained of herein. The Individual Defendant exercised control over the

 general operations of the Company and possessed the power to control the specific

 activities which comprise the primary violations about which Plaintiff and the other

 members of the Class complain.

       62.    By reason of the above conduct, the Individual Defendant and/or

 Rocket are liable pursuant to Section 20(a) of the Exchange Act for the violations

 committed by the Company.

                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demand judgment against Defendants as follows:

       A.     Determining that the instant action may be maintained as a class action

 under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the

 Class representatives;

       B.     Requiring Defendants to pay damages sustained by Plaintiff and the

 Class by reason of the acts and transactions alleged herein;

       C.     Awarding Plaintiff and the other members of the Class pre-judgment

 and post-judgment interest, as well as their reasonable attorneys’ fees, expert fees

 and other costs; and

       D.     Awarding such other and further relief as this Court may deem just and

 proper.


                                          31
Case 3:25-cv-10049-ZNQ-TJB     Document 1      Filed 06/11/25   Page 32 of 32 PageID: 32




                        DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

 Dated: June 11, 2025                                 Respectfully submitted,

                                                      LEVI & KORSINSKY, LLP


                                                      /s/ Adam M. Apton             _
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                                          32
